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EXHIBIT B

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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,

PENNSYLVANIA
GRANT B. STEVENS, CIVIL DIVISION
Plaintiff, Docket No.:
vs.

C. R. BARD, INC.; DAVOL, INC.;
BECTON, DICKINSON AND COMPANY,
a corporation,

Defendants.

COMPLAINT IN CIVIL ACTION

Filed on behalf of Plaintiff:
Grant B. Stevens

Counsel of Record for this Party:
Peter D. Friday, Esquire
Pa I.D. # 48746

gfriday@friday|aw.com

Gregory J. Nicosia, Jr., Esquire
Pa I.D. # 321096
gnicosia_@fridayiaw.com

Friday & Cox LLC

1405 McFarland Road
Pittsburgh, PA 15216-2320
Telephone: (412) 561-4290
Facsirnile: (412) 561-4291

JURY TRIAL DEMANDED

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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,

PENNSYLVANIA
GRANT B. STEVENS, CIVIL DlVlSlON
Plaintiff, Docket No.:

VS.

C. R. BARD, INC.; DAVOL, INC.;
BECTON, DICKINSON AND COMPANY, a
corporation,

Defendants.

NOTICE TO DEFENI)

You have been sued in court. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this Complaint and Notice are
served by entering a written appearance personally or by an attorney and by filing in writing with
the court your defenses or objections to the claims set forth against you. You are warned that if
you fail to do so, the case may proceed without you and ajudgment may be entered against you
by the court without further notice for any money claimed in the Complaint or for any other hlaim
or relief requested by the Plaintiff. You may lose money or property or other rights important to
you.

YOU SHOULD TAKE THIS PAPE`.R TO YOUR LAWYER AT ONCE. [F YOU DO
NOT I-IAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW.
THIS OFFICE CAN PROVIDE YOU WI’I`H INFORMATION ABOUT HIRING A LAWYER.

IF YOU CANNO'I` AFFORD TO l-IlRE A LAWYER, THIS OFFICE MAY BE ABI_.E TO
PROV[DE YOU WITH [NFORMATION ABOUT AGENCIES TH_AT MAY OFFER LEGAL
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

Lawyer Referral Service
The Allegheny County Bar Association
11‘h Floor Koppers Buildiog, 436 Seventh Avenue
Pittsburgh, PA 15219
Telephone: (412) 261-5555

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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,

PENNSYLVANIA
GRANT B. STEVENS, CIVIL DlVlSION
Plaintiff, Docket No.:

vs.
C. R. BARD, INC.; DAVOL, lNC.;
BECTOl\I, DICKINSON AND COMPANY, a
corporation,
Defendants.
COMPLAINT IN CIVIL ACTION
Plaintiff Grant B. Stevens, by and through his attorneys Peter D. Friday, Esquire, Gregory
J. Nicosia, Jr., Esquire, and Friday & Cox LLC complains and alleges as follows:
I. Plaintiff Grant B. Stevens is an adult individual residing at 1110 Highfield Court,
Apartment lOl, Bethel Park, Alleghcny County, Pennsylvania 15102.
2. Defendant C. R. Bard, Inc. (“Bard”) is a New Jersey corporation with a principal
place of business at 730 Central Avenue, Murray Hill, New Jersey 07974.
3. Defendant Davol, lnc. (“Davol”) is a Rhode Island corporation with a principal
place of business at 100 Crossings Boulevard, Warwick, Rhode Island 02886.
4. In or about 1980, Bard acquired Davol as a subsidiary.
5. Defendant Becton, Dickinson and Company (“BD”) is a New Jersey corporation
with a principal place of business at l Becton Drive, Frank|in Lakes, New Jersey 074! 7.
6. On or about April 23, 2017, BD announced in a public press release that it

acquired Bard for $317.00 per Bard common share in cash and stock, for a total consideration of

$24 billion.

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7. At all relevant times, all of the above-named defendants were registered to
conduct business in the Commonwealth of Pennsylvania and regularly conducted business in and
through Allegheny County, Pennsylvania.

8. At all relevant times, defendants regularly sold, marketed, advertised, distributed
and profited from the sale, marketing, advertising and distribution of medical devices used for
hernia repair in and through Allegheny County, Pennsylvania.

9. At all relevant times, defendants designed, developed, manufactured, assembled,
distributed, tested, marketed, promoted, sold and otherwise placed into the stream of commerce,
for profit, the at issue Bard Ventralight ST Mesh with serial no. HUYJO789 and product code
5955790. The at issue mesh is identified as being an ellipse shape with dimesons of 7" x 9" (17.8
cm x 22.9 crn).

10. The at issue Ventralight S'l` Mesh is an uncoated lightweight monofilarnent
polypropylene mesh on thc anterior side with an absorbable hydrogel barrier based on Sepra
Techno|ogy on the posterior side and is commonly used for laparoscopic ventral hernia repair.

ll. At all relevant times, defendants held themselves out to the public as being
knowledgeable, skilled and experienced in the design, manufacture, production, assembly,
distribution and sale of medical devices used for hernia repair, including the at issue Ventralight
ST polypropylene mesh.

12. As such, defendants had the requisite knowledge, skill and expertise to know that
implanted devices, such as polypropylene mesh, must be chemically inert, non-carcinogenic, and
able to withstand mechanical stress. lmplanted devices, such as polypropylene mesh, must also
not be physically modified by tissue fluids, not allow tissue infiltration, not incite an

inflammatory or foreign body cell reaction, and not produce allergic reactions.

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13. However, polypropylene is not biologically inert in the human body, as it is
known to expand as well as shrink, and can cause serious injury to patients, significantly
impacting their quality of life.

l4. Moreover, it is well known within the scientific and medical community that the
polypropylene used for surgical treatment begins to degrade after implantation in the human
body, which can lead to infection and irritation, and result in serious pain as the body tries to rid
itself of the foreign material.

15. In addition, scientific literature regarding the safety and effectiveness of these
devices suggested that polypropylene mesh repair does not improve symptomatic results or
quality of life over traditional non-mesh repair.

16. On or about July 13, 2011, the Food and Drug Administration (“FDA”) issued a
Safety Communication regarding Surgical Mesh for Hemia Repairs. 'I`herein, the FDA advised
hundreds of thousands of hernia repair operations are performed each year both with and without
surgical mesh.

17. FDA further advised it received numerous reports of complications associated
with the mesh. The complications include adverse reactions to the mesh, adhesions (when the
loops of the intestines adhere to each other or the mesh), and injuries to nearby organs, nerves or
blood vesse|s. Other reported complications include infection chronic pain and hernia recurrence

18. Defendants were fully aware of the dangers the defective products it was placing
into the stream of commerce posed to its customers, specifically Ventralight ST polypropylene
mesh, which has repeatedly been shown to pose an unreasonable risk of human body
inflammation, granuloma formation, foreign body reaction, excessive scar tissue formation and

long-term complications

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19. Additionally, in the July 13, 201 1 Safety Communication, the FDA concluded
that:

a mesh procedure may put the patient at risk for requiring additional surgery or for the

development of new complications Removal of the mesh due to mesh complications

may involve multiple surgeries and significantly impair the patient’s quality of life.

Complete removal of mesh may not be possible.

20. The information contained in the FDA’s Safety Communication of July 13, 2011
is equally applicable to the subject synthetic Ventralight ST polypropylene mesh and the
information was known or knowable to defendants, and was not disclosed in oral or written
communications, directed to consumer advertising in the form of patient brochures, instructions
for use or labeling.

21. Despite the abundance of scientific and medical information available relating to
the dangerous properties and serious risks of polypropylene mesh, defendants deliberately
ignored these dangers and aggressively promoted Ventralight ST polypropylene mesh to
healthcare providers and consumers.

22. Defendants expressly warranted that the Ventralight ST polypropylene mesh was
safe and fit for use by consumers, that it was of merchantable quality, and that it was adequately
tested and fit for its intended use, even though it was not safe and had numerous side effects,
many of which defendants did not accurately warn about.

23. The Ventralight ST polypropylene mesh, with its unusual design, was nothing
more than a marketing ploy to capture the revenue stream from the lucrative hernia mesh market.

24. Defendants designed, developed, manufactured, assembled, distributed, tested,
marketed, promoted and/or sold to the public, including plaintiff, for profit, the at issue

Ventralight ST polypropylene mesh in a defective condition such that the at issue Ventralight ST

polypropylene mesh failed and had to be surgically removed after numerous complications arose.

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25. On or about April 22, 2015, plaintiff underwent surgery performed by Harry Sell,
Jr., M.D. at UPMC Mercy l-Iospital in Pittsburgh, Pennsylvania to repair a right ventral incisional
hemia.

26. At that time, Dr. Seli laparoscopically implanted the at issue Ventralight ST
polypropylene mesh into plaintiffs body to repair the right ventral incisional hemia.

27. Plaintiff’s medical records indicate that following the operation he was recovering
appropriately following the impanation of the at issue mesh.

28. On May 6, 2015, plaintiff presented to the UPMC Mercy Hospital Emergency
Department with complaints of fever and chills.

29. Plaintiff was found to be febrile and tachycardic and diagnosed with an infection
at the incision site, which required wound VAC placement

30. At or about this time, it is believed and therefore averred that the mesh separated,
detached or otherwise failed and became exposed, requiring physicians to trim portions of the
mesh protruding from the skin on several occasions.

31. Between May 6, 2015 and October l l, 2016, a visible protrusion at the lateral
aspect of the right subcostal scar developed and steadily worsened, eventually becoming 6 to 7
cm in diameter.

32. During this time, plaintiff repeatedly sought medical treatment for the worsening
protrusion, pain, discomfort and secondary symptoms associated with the mesh failure.

33. In or about October of 2016, plaintiff learned that the at issue Ventralight ST
polypropylene mesh had to be removed because the mesh failed, causing plaintiff s hernia

recurred and posed a serious risk of death or bodily harm.

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34. On or about January 27, 2017, plaintiff underwent a surgical separation of the at

issue Ventralight ST polypropylene mesh hemiorrhaphy.

35. As of the filing of this complaint, plaintiff is more likely than not to have

continuing procedures relating to injuries suffered from the defective device.

36. Plaintiff suffered the following injuries as a direct and proximate result of the

failure of the at issue Ventralight ST polypropylene mesh, some or all of which may be

permanent in nature:

a.

b.

k.

Postoperative abdominal wound infection;
Systemic bodily infection;

Sepsis without evidence of severe sepsis;
Tacycardia;

Abdominal pain;

Abdominal weakness;

Abdominal wall failure;

Recurrent, ventral incisional hernia;
Gastrointestinal and urinary dysfunction;
Severe scarring and disfigurement;
Nervousness, emotional tension, anxiety and depression; and

Other injuries to be proven at trial.

37. Plaintif`f"s injuries were a direct and proximate result of the dangerous, hazardous

and defective condition of the at issue Ventralight ST polypropylene mesh, which at all relevant

times were being used for their intended purpose in a normal and foreseeable manner by

plaintiff.

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38. As a direct and proximate result of the dangerous, hazardous and defective

condition of Ventralight ST polypropylene mesh, plaintiff suffered the following damages, some

or all of which may be ongoing:

a.

Great pain, suffering, inconvenience, embarrassment, mental anguish,
emotional and psychological trauma;

P|aintiff will be required to expend large sums of money for treatment and
care, including by not limited to, skin grafting, plastic surgery, hospitalization,
medical supplies, surgical appliances, rehabilitation and therapeutic treatment,
prescription medication, and other attendant services;

Plaintiff was required to undergo plastic surgery, which was caused him
substantial, prolonged pain and suffering;

Plaintiff was unable to walk for several days to due to great pain following his
various surgeries;

Plaintif`f`s gastrointestinal and urinary caused him, resulting in considerable
inconvenience, embarrassment and emotional distress;

Plaintiff’s future earning capacity has been reduced and may be permanently
impaired;

Inabi|ity to enjoy various pleasures of life and participate in various activities
that were previously enjoyed;

Perrnanent scarring and disfigurement; and
Loss and impairment of general health, strength and vitality.
COUNT I

Grant B. Stevens v. C.R. Bard, Inc.
Strict Products Liability

39. All of the preceding paragraphs are incorporated herein by reference

40. At all relevant times, defendant designed, tested, manufactured, supplied, sold

and/or otherwise placed into the stream of commerce the at issue Ventralight ST polypropylene

mesh, in a defective condition, unreasonably dangerous and unsafe for its intended and

foreseeable use.

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41. At all relevant times, defendant was in the business of designing, constructing,
testing, marketing, distributing and selling the at issue Ventralight ST polypropylene mesh to the
ultimate users and consumers of these products, including plaintiff.

42. At all relevant times, the at issue Ventralight ST polypropylene mesh was
defective in its design, manufacture and warnings, causing the at issue Ventralight ST
polypropylene mesh to fail while being used for its intended purpose in a reasonable foreseeable
manner.

43. At all relevant times, the at issue Ventralight ST polypropylene mesh
manufactured, sold, distributed and promoted by Defendant was defective because due to
inadequate post-marketing warnings and/or instructions

44. At all relevant times, defendant negligently, intentionally, deliberately and
outrageously failed to disclose to plaintiff and other similarly situated persons adequate warnings
of the nature and extent of the danger resulting from the use of their products

45. Plaintiff and his physicians were unware of the unreasonably dangerous condition
of the at issue Ventralight ST polypropylene mesh prior to or at the time of the subject incident.

46. Plaintiff and his physicians used the Ventralight S'l` polypropylene mesh as
directed for its intended purpose in hernia repair and neither plaintiff nor his physician altered or
modified the at issue Ventralight ST polypropylene mesh in any way before it was implanted
into plaintiff

47. At all relevant times, the at issue Ventralight ST polypropylene mesh was in a
defective condition that was unknowable1 unacceptable and unreasonably dangerous to the

average or ordinary consumer, including plaintiff

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48. At all relevant times, the at issue Ventralight ST polypropylene mesh was in an

unreasonably defective condition, such that a reasonable person would conclude that the

probability and seriousness of harm caused by the at issue Ventralight ST polypropylene mesh

failing and causing substantial bodily injury outweighs the burdens or costs of taking

precautionary measures in the design, manufacture, sale, distribution and warnings of the at issue

Ventralight ST polypropylene mesh.

49. Accordingly, the at issue Ventralight ST polypropylene mesh implanted into

plaintiff was in a defective condition, unreasonably dangerous and unsafe for its intended and

reasonably foreseeable uses as contemplated by § 402A of the Restatement (Second) of Torts, in

the following particulars:

H.

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner such that it was susceptible to failing during normal,
intended foreseeable manner;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner such that it failed during normal, intended foreseeable
manner;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that it was not biologically inert;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner the mesh material was able to expand and/or contract,
thereby causing serious harm;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that it allowed tissue infiltration;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that it was unreasonably susceptible to becoming
and/or transmitting systemic bodily infection, including sepsis;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that it became and/or transmitted systemic bodily
infection, including sepsis;

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h. The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that caused inflammation which contributed to the
mesh’s failure;

i. ln designing, manufacturing, selling and/or distributing the at issue
Ventralight ST polypropylene mesh without adequate safety features,
including but not limited to, features that would prevent the at issue
Ventralight ST polypropylene mesh from degrading after implantation; and

j. in failing to warn foreseeable users, including plaintiff and his physicians, of
the latent dangers of the at issue Ventralight ST polypropylene mesh, while
being used in a normal, intended and foreseeable manner.

50. The incident and resulting damages were a direct and proximate result of the
defects in the at issue Ventralight ST polypropylene mesh, all of which existed at the time that
the products were designed, manufactured, distributed, tested, sold and otherwise placed into the
stream of commerce by defendant

51. Therefore, defendant is strictly liable for the damages incurred by plaintiff as a
result of this incident.

WHEREFORE, plaintiff demands compensatory and punitive damages against defendant,
in an amount in excess of the jurisdictional amount for arbitration, together with such interest,
costs and fees as may be determined by the Court.

COUNT II
Grant B. Stevens v. C.Rt Bard, Inc.
Negligence

52. All of the preceding paragraphs are incorporated herein by reference.

53. Defendant knew the at issue Ventralight ST polypropylene mesh was to be used
by consumers without inspection for defects

54. The at issue Ventralight ST polypropylene mesh was manufactured, designed,

tested, marketed, sold, supplied, distributed and/or otherwise placed into the stream of commerce

by defendant containing a defect in the design, manufacture, assembly and wamings.

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55. The subject incident and plaintiffs resulting damages and injuries were directly

and proximately caused by the negligence, carelessness and recklessness of defendant in the

following manners:

3..

In designing, testing, producing, and/or manufacturing the at issue Ventralight
S'l` polypropylene mesh in a defective condition, unreasonably dangerous to
its prospective users, including plaintiff;

ln designing, testing, producing and/or manufacturing the at issue Ventralight
ST polypropylene mesh capable of failing, degrading, and causing serious
injuries while being used in their intended and foreseeable manner;

In designing, distributing, testing and/or manufacturing the at issue
Ventralight ST polypropylene mesh from defective and/or inadequate
materials for their intended and foreseeable use;

In designing, distributing testing and/or manufacturing the at issue
Ventralight ST polypropylene mesh such that it is not biologically inert;

In failing to design, test, manufacture, sell, distribute and supply the at issue
Ventralight ST polypropylene mesh with adequate safeguards and/or features
to prevent it from degrading;

ln failing to properly design and manufacture the at issue Ventralight ST
polypropylene mesh so that they were reasonably safe for its intended and
foreseeable use by the average consumer, including plaintiff and his
physicians;

In failing to properly and adequately inspect the at issue Ventralight ST
polypropylene mesh so as to discover the defects contained therein;

In failing to properly test the capability of the at issue Ventralight ST
polypropylene mesh for degrading and/or failing before placing it into the
stream of commerce;

In failing to adequately warn prospective users of the unreasonable dangers of
the at issue Ventralight ST polypropylene mesh;

In failing to place warnings on the at issue Ventralight ST polypropylene
mesh alerting prospective users, including plaintiff of the unreasonable danger
of failing, degrading and/or becoming infected while using the subject
products in a reasonable, intended and foreseeable manner;

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k. In negligently designing and manufacturing the at issue Ventralight ST
polypropylene mesh in a manner that they were susceptible to failing,
degrading and!or becoming infected and injuring users during its normal,
intended and foreseeable operation; and

l. In failing to exercise due care under the circumstances in the manufacturing
designing, marketing, testing, distributing and selling of the defective
Ventralight ST polypropylene mesh.

56. Some or all of defendant’s above-described acts and omissions were wanton,
willful, reckless and outrageous as defendant knowingly placed defective products, including the
at issue Ventralight ST polypropylene mesh into the stream of commerce.

57. Said acts or omissions were taken despite defendant’s actual and/or constructive
knowledge that its Ventralight ST polypropylene mesh have been shown to cause serious injury,
due to the defective nature of those products, as specified above.

WHEREFORE, plaintiff demands judgment for compensatory and punitive damages
against defendant in an amount in excess of the jurisdictional amount for arbitration, together
with such interest, costs and fees as permitted by the Court.

COUNT lII
Grant B. Stevens v. C.R. Bara', Inc.
Breach of Warranties

58. All of the preceding paragraphs are incorporated herein by reference.

59. Defendant expressly andfor impliedly warranted that the at issue Ventralight ST
polypropylene mesh was of merchantable quality, safe and fit for its particular purpose when
used under ordinary conditions and used in an ordinary or foreseeable manner.

60. At all relevant times, plaintiff and his physicians used the at issue Ventralight ST

polypropylene mesh in a manner consistent with its intended and foreseeable use and function

and for the particular purpose for which it was designed, manufactured, marketed and sold,

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61. Defendant materially breached the warranties of merchantability and fitness for a
particular purpose by negligently, carelessly and recklessly designing, manufacturing
assembling, supplying, distributing and/or selling the at issue Ventralight ST polypropylene
mesh in a manner that they were susceptible to failing, degrading, becoming infected and
injuring users during their normal, intended and foreseeable operation and/or in failing to
exercise due care under the circumstances in the manufacturing designing, distributing,
marketing, producing and selling of the defective products.

62. As a direct and proximate result of the aforesaid warranty breaches, the at issue
Ventralight ST polypropylene mesh failed and were caused to degrade, becoming infected and
otherwise fail while in use, resulting in plaintiff sustaining the severe bodily injuries, set forth
above.

WHEREFORE, plaintiff demands judgment against defendant in an amount in excess of
the jurisdictional amount for arbitration, together with such interest, costs and fees permitted by
the Court.

COUNT IV
Grant B. Stevens v. Davo.l, Inc.
Strict Products Liability

63. All of the preceding paragraphs are incorporated herein by reference

64. At all relevant times, defendant designed, tested, manufactured, supplied, sold
and/or otherwise placed into the stream of commerce the at issue Ventralight ST polypropylene

mesh, in a defective condition, unreasonably dangerous and unsafe for its intended and

foreseeable use,

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65. At all relevant times, defendant was in the business of designing, constructing,
testing, marketing, distributing and selling the at issue Ventralight ST polypropylene mesh to the
ultimate users and consumers of these products, including plaintiff

66. At all relevant times, the at issue Ventralight ST polypropylene mesh was
defective in its design, manufacture and warnings, causing the at issue Ventralight ST
polypropylene mesh to fail while being used for its intended purpose in a reasonable foreseeable
manner.

67. At all relevant times, the at issue Ventralight ST polypropylene mesh
manufactured, sold, distributed and promoted by Defendant was defective because due to
inadequate post-marketing warnings and/or instructions

68. At all relevant times, defendant negligently, intentionally, deliberately and
outrageously failed to disclose to plaintiff and other similarly situated persons adequate warnings
of the nature and extent of the danger resulting from the use of their products,

69. Plaintiff and his physicians were unware of the unreasonably dangerous condition
of the at issue Ventralight ST polypropylene mesh prior to or at the time of the subject incident.

70. Plaintiff and his physicians used the Ventralight ST polypropylene mesh as
directed for its intended purpose in hernia repair and neither plaintiff nor his physician altered or
modified the at issue Ventralight ST polypropylene mesh in any way before it was implanted
into plaintiff

71. At all relevant times, the at issue Ventralight S'I` polypropylene mesh was in a
defective condition that was unknowable, unacceptable and unreasonably dangerous to the

average or ordinary consumer, including plaintiff

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72. At all relevant times, the at issue Ventralight ST polypropylene mesh was in an

unreasonably defective condition, such that a reasonable person would conclude that the

probability and seriousness of harm caused by the at issue Ventralight ST polypropylene mesh

failing and causing substantial bodily injury outweighs the burdens or costs of taking

precautionary measures in the design, manufacture, sale, distribution and warnings of the at issue

Ventralight ST polypropylene mesh.

73. Accordingly, the at issue Ventralight ST polypropylene mesh implanted into

plaintiff was in a defective condition, unreasonably dangerous and unsafe for its intended and

reasonably foreseeable uses as contemplated by § 402A of the Restatement (Second) of Torts, in

the following particulars:

a.

The at issue Ventralight S'I` mesh was designed, manufactured, distributed
and/or sold in a manner such that it was susceptible to failing during normal,
intended foreseeable manner;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner such that it failed during normal, intended foreseeable
manner;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that it was not biologically inert;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner the mesh material was able to expand and/or contract,
thereby causing serious harm;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that it allowed tissue infiltration;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that it was unreasonably susceptible to becoming
and/or transmitting systemic bodily infection, including sepsis;

The at issue Ventralight ST mesh was designed, manufactured, distributed

and/or sold in a manner that it became andfor transmitted systemic bodily
infection, including sepsis;

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h. The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that caused inflammation which contributed to the
mesh’s failure;

i. In designing, manufacturing, selling and/or distributing the at issue
Ventralight ST polypropylene mesh without adequate safety features,
including but not limited to, features that would prevent the at issue
Ventralight ST polypropylene mesh from degrading after implantation; and

j. In failing to warn foreseeable users, including plaintiff and his physicians, of
the latent dangers of the at issue Ventralight ST polypropylene mesh, while
being used in a normal, intended and foreseeable manner.

74. The incident and resulting damages were a direct and proximate result of the
defects in the at issue Ventralight ST polypropylene mesh, all of which existed at the time that
the products were designed, manufactured, distributed, tested, sold and otherwise placed into the
stream of commerce by defendant

75. Therefore, defendant is strictly liable for the damages incurred by plaintiff as a
result of this incident.

WHEREFORE, plaintiff demands compensatory and punitive damages against defendant,
in an amount in excess ofthejurisdictional amount for arbitration, together with such interest,
costs and fees as may be determined by the Court.

COUNT V
Grant B. Stevens v. Davol, Inc.
Negligence

76. All of the preceding paragraphs are incorporated herein by reference

77. Defendant knew the at issue Ventralight ST polypropylene mesh was to be used
by consumers without inspection for defects.

78. The at issue Ventralight ST polypropylene mesh was manufactured, designed,

tested, marketed, sold, supplied, distributed andr'or otherwise placed into the stream of commerce

by defendant containing a defect in the design, manufacture, assembly and wamings.

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79. The subject incident and plaintiffs resulting damages and injuries were directly

and proximately caused by the negligence, carelessness and recklessness of defendant in the

following manners:

a.

In designing, testing, producing, and!or manufacturing the at issue Ventralight
ST polypropylene mesh in a defective condition, unreasonably dangerous to
its prospective users, including plaintiff;

In designing, testing, producing andfor manufacturing the at issue Ventralight
ST polypropylene mesh capable of failing, degrading, and causing serious
injuries while being used in their intended and foreseeable manner;

ln designing, distributing, testing and!or manufacturing the at issue
Ventralight ST polypropylene mesh from defective and!or inadequate
materials for their intended and foreseeable use;

ln designing, distributing, testing and/or manufacturing the at issue
Ventralight ST polypropylene mesh such that it is not biologically inert;

In failing to design, test, manufacture, sell, distribute and supply the at issue
Ventralight ST polypropylene mesh with adequate safeguards andfor features
to prevent it from degrading;

In failing to properly design and manufacture the at issue Ventralight ST
polypropylene mesh so that they were reasonably safe for its intended and
foreseeable use by the average consumer, including plaintiff and his
physicians;

In failing to properly and adequately inspect the at issue Ventralight ST
polypropylene mesh so as to discover the defects contained therein;

ln failing to properly test the capability of the at issue Ventralight ST
polypropylene mesh for degrading and/or failing before placing it into the
stream of commerce;

ln failing to adequately warn prospective users of the unreasonable dangers of
the at issue Ventralight ST polypropylene mesh;

In failing to place warnings on the at issue Ventralight ST polypropylene
mesh alerting prospective users, including plaintiff of the unreasonable danger
of failing, degrading and/or becoming infected while using the subject
products in a reasonable, intended and foreseeable manner;

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k. In negligently designing and manufacturing the at issue Ventralight ST
polypropylene mesh in a manner that they were susceptible to failing,
degrading and/or becoming infected and injuring users during its normal,
intended and foreseeable operation; and

l. In failing to exercise due care under the circumstances in the manufacturing,
designing, marketing, testing, distributing and selling of the defective
Ventralight ST polypropylene mesh.

80. Some or all of defendant’s above-described acts and omissions were wanton,
willful, reckless and outrageous as defendant knowingly placed defective products, including the
at issue Ventralight ST polypropylene mesh into the stream of commerce.

81. Said acts or omissions were taken despite defendant’s actual and/or constructive
knowledge that its Ventralight ST polypropylene mesh have been shown to cause serious injury,
due to the defective nature of those products, as specified above.

WHEREFORE, plaintiff demands judgment for compensatory and punitive damages
against defendant in an amount in excess of the jurisdictional amount for arbitration, together
with such interest, costs and fees as permitted by the Court.

COUNT VI
Grant B. Stevens v. Davol, Inc.
Breach of Warranties

82. All of the preceding paragraphs are incorporated herein by reference.

83. Defendant expressly and/or impliedly warranted that the at issue Ventralight ST
polypropylene mesh was of merchantable quality, safe and fit for its particular purpose when
used under ordinary conditions and used in an ordinary or foreseeable manner.

84. At all relevant times, plaintiff and his physicians used the at issue Ventralight ST

polypropylene mesh in a manner consistent with its intended and foreseeable use and function

and for the particular purpose for which it was designed, manufactured, marketed and sold.

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85. Defendant materially breached the warranties of merchantability and fitness for a
particular purpose by negligently, carelessly and recklessly designing, manufacturing,
assembling, supplying, distributing and/or selling the at issue Ventralight ST polypropylene
mesh in a manner that they were susceptible to failing, degrading, becoming infected and
injuring users during their normal, intended and foreseeable operation and/or in failing to
exercise due care under the circumstances in the manufacturing, designing, distributing,
marketing, producing and selling of the defective products.

86. As a direct and proximate result of the aforesaid warranty breaches, the at issue
Ventralight ST polypropylene mesh failed and were caused to degrade, becoming infected and
otherwise fail while in use, resulting in plaintiff sustaining the severe bodily injuries, set forth
above.

WHEREFORE, plaintiff demands judgment against defendant in an amount in excess of
the jurisdictional amount for arbitration, together with such interest, costs and fees permitted by
the Court.

COUN'I` VII
Grant B. Stevens v. Becton, Dickinson and Company
Strict Products Liability

87. All of the preceding paragraphs are incorporated herein by reference.

88. At all relevant times, defendant designed, tested, manufactured, supplied, sold
and/or otherwise placed into the stream of commerce the at issue Ventralight ST polypropylene

mesh, in a defective condition, unreasonably dangerous and unsafe for its intended and

foreseeable use,

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89. At all relevant times, defendant was in the business of designing, constructing,
testing, marketing, distributing and selling the at issue Ventralight ST polypropylene mesh to the
ultimate users and consumers of these products, including plaintiff

90. At all relevant times, the at issue Ventralight ST polypropylene mesh was
defective in its design, manufacture and wamings, causing the at issue Ventralight ST
polypropylene mesh to fail While being used for its intended purpose in a reasonable foreseeable
manner.

9l. At all relevant times, the at issue Ventralight ST polypropylene mesh
manufactured, sold, distributed and promoted by Defendant was defective because due to
inadequate post-marketing warnings and/or instructions

92. At all relevant times, defendant negligently, intentionally, deliberately and
outrageously failed to disclose to plaintiff and other similarly situated persons adequate warnings
of the nature and extent of the danger resulting from the use of their products.

93. Plaintiff and his physicians were unware ofthe unreasonably dangerous condition
of the at issue Ventralight ST polypropylene mesh prior to or at the time of the subject incident.

94. Plaintiff and his physicians used the Ventralight ST polypropylene mesh as
directed for its intended purpose in hernia repair and neither plaintiff nor his physician altered or
modified the at issue Ventralight ST polypropylene mesh in any way before it was implanted
into plaintiff.

95. At all relevant times, the at issue Ventralight ST polypropylene mesh was in a
defective condition that was unknowable, unacceptable and unreasonably dangerous to the

average or ordinary consumer, including plaintiff

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96. At all relevant times, the at issue Ventralight ST polypropylene mesh was in an

unreasonably defective condition, such that a reasonable person would conclude that the

probability and seriousness of harm caused by the at issue Ventralight ST polypropylene mesh

failing and causing substantial bodily injury outweighs the burdens or costs of taking

precautionary measures in the design, manufacture, sale, distribution and warnings of the at issue

Ventralight S'I` polypropylene mesh.

97. Accordingiy, the at issue Ventralight ST polypropylene mesh implanted into

plaintiff was in a defective condition, unreasonably dangerous and unsafe for its intended and

reasonably foreseeable uses as contemplated by § 402A of the Restatement (Second) of Torts, in

the following particulars:

H.

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner such that it was susceptible to failing during normal,
intended foreseeable manner;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and!or sold in a manner such that it failed during normal, intended foreseeable
manner;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that it was not biologically inert;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner the mesh material was able to expand and/or contract,
thereby causing serious harm;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that it allowed tissue infiltration;

The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that it was unreasonably susceptible to becoming
and/or transmitting systemic bodily infection, including sepsis;

The at issue Ventralight ST mesh was designed, manufactured, distributed

and/or sold in a manner that it became andfor transmitted systemic bodily
infection, including sepsis;

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h. The at issue Ventralight ST mesh was designed, manufactured, distributed
and/or sold in a manner that caused inflammation which contributed to the
mesh’s failure;

i. In designing, manufacturing, selling and/or distributing the at issue
Ventralight ST polypropylene mesh without adequate safety features,
including but not limited to, features that would prevent the at issue
Ventralight ST polypropylene mesh from degrading after implantation; and

j. In failing to warn foreseeable users, including plaintiff and his physicians, of
the latent dangers of the at issue Ventralight ST polypropylene mesh, while
being used in a normal, intended and foreseeable manner.

98. The incident and resulting damages were a direct and proximate result of the
defects in the at issue Ventralight ST polypropylene mesh, all of which existed at the time that
the products were designed, manufactured, distributed, tested, sold and otherwise placed into the
stream of commerce by defendant

99. Therefore, defendant is strictly liable for the damages incurred by plaintiff as a
result of this incident.

WHEREFORE, plaintiff demands compensatory and punitive damages against defendant,
in an amount in excess of the jurisdictional amount for arbitration, together with such interest,
costs and fees as may be determined by the Court.

COUNT VIII
Grant B. Stevens v. Becton, Dickinson and Company
Negligence

100. All of the preceding paragraphs are incorporated herein by reference

101 . Defendant knew the at issue Ventralight ST polypropylene mesh was to be used
by consumers without inspection for defects.

102. The at issue Ventralight ST polypropylene mesh was manufactured, designed,

tested, marketed, sold, supplied, distributed and/or otherwise placed into the stream of commerce

by defendant containing a defect in the design, manufacture, assembly and wamings,

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103. The subject incident and plaintiffs resulting damages and injuries were directly

and proximately caused by the negligence, carelessness and recklessness of defendant in the

following manners:

El.

ln designing, testing, producing, and/or manufacturing the at issue Ventralight
ST polypropylene mesh in a defective condition, unreasonably dangerous to
its prospective users, including plaintiff;

In designing, testing, producing and/or manufacturing the at issue Ventralight
ST polypropylene mesh capable of failing, degrading, and causing serious
injuries while being used in their intended and foreseeable manner;

ln designing, distributing, testing and/or manufacturing the at issue
Ventralight ST polypropylene mesh from defective and/or inadequate
materials for their intended and foreseeable use;

ln designing, distributing, testing and/or manufacturing the at issue
Ventralight ST polypropylene mesh such that it is not biologically inert;

In failing to design, test, manufacture, sell, distribute and supply the at.issue
Ventralight ST polypropylene mesh with adequate safeguards and/or features
to prevent it from degrading;

In failing to properly design and manufacture the at issue Ventralight ST
polypropylene mesh so that they were reasonably safe for its intended and
foreseeable use by the average consumer, including plaintiff and his
physicians;

In failing to properly and adequately inspect the at issue Ventralight S'l`
polypropylene mesh so as to discover the defects contained therein;

In failing to properly test the capability of the at issue Ventralight ST
polypropylene mesh for degrading and/or failing before placing it into the
stream of commerce;

In failing to adequately warn prospective users of the unreasonable dangers of
the at issue Ventralight ST polypropylene mesh;

ln failing to place warnings on the at issue Ventralight ST polypropylene
mesh alerting prospective users, including plaintiff of the unreasonable danger
of failing, degrading and/or becoming infected while using the subject
products in a reasonable, intended and foreseeable manner;

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k. In negligently designing and manufacturing the at issue Ventralight ST
polypropylene mesh in a manner that they were susceptible to failing,
degrading and/or becoming infected and injuring users during its normal,
intended and foreseeable operation; and

l. ln failing to exercise due care under the circumstances in the manufacturing,
designing, marketing, testing, distributing and selling of the defective
Ventralight ST polypropylene mesh.

104. Some or all of defendant’s above-described acts and omissions were wanton,
willful, reckless and outrageous as defendant knowingly placed defective products, including the
at issue Ventralight ST polypropylene mesh into the stream of commerce.

105. Said acts or omissions were taken despite defendant’s actual and/or constructive
knowledge that its Ventralight ST polypropylene mesh have been shown to cause serious injury,
due to the defective nature of those products, as specified above.

WHEREFORE, plaintiff demands judgment for compensatory and punitive damages
against defendant in an amount in excess of the jurisdictional amount for arbitration, together
with such interest, costs and fees as permitted by the Court.

COUNT IX
Grant B. Stevens v. Becton, Dickinson and Company
Breach of Warranties

106. All of the preceding paragraphs are incorporated herein by reference.

107. Defendant expressly andr'or impliedly warranted that the at issue Ventralight ST
polypropylene mesh was of merchantable quality, safe and fit for its particular purpose when
used under ordinary conditions and used in an ordinary or foreseeable manner.

108. At all relevant times, plaintiff and his physicians used the at issue Ventralight ST

polypropylene mesh in a manner consistent with its intended and foreseeable use and function

and for the particular purpose for which it was designed, manufactured, marketed and sold,

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109. Defendant materially breached the warranties of merchantability and fitness for a
particular purpose by negligently, carelessly and recklessly designing, manufacturing,
assembling, supplying, distributing and/or selling the at issue Ventralight ST polypropylene
mesh in a manner that they were susceptible to failing, degrading, becoming infected and
injuring users during their normal, intended and foreseeable operation and/or in failing to
exercise due care under the circumstances in the manufacturing, designing, distributing,
marketing, producing and selling of the defective products,

l 10. As a direct and proximate result of the aforesaid warranty breachcs, the at issue
Ventralight ST polypropylene mesh failed and were caused to degrade, becoming infected and
otherwise fail while in use, resulting in plaintiff sustaining the severe bodily injuries, set forth
abovc.

WHEREFOR_E, plaintiff demandsjudgment against defendant in an amount in excess of
thejurisdictional amount for arbitration, together with such interest, costs and fees permitted by
the Court.

A JURY TRIAL IS DEMANDED.
Respectfully submitted,

FRIDAY AND COX LLC

/s/ Grego;g J. Nr`cosia, Jr.
Peter D. Friday, Esquire

Pa I.D. # 48746

Gregory J. Nicosia, .lr., Esquire
Pa I.D. # 321096

Friday & Cox LLC
1405 McFarland Road
Pittsburgh, PA 15216
(4l2) 561-4290 (Phone)
(412) 561-4291 (Fax)

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.Y_E.R_I.Fl..QA_'HQU

I, Grant B. Stevens, being duly sworn according to law, depose _and say that the facts
contained'in the foregoing are true and correct to the best of my knowledge, information and belief
I understand that false statements herein are made subject to the penalties of 18 Pa. Con.

Stat. § 4904 relating to unsworn falsification to authorities

 

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Zacha:y Streets

From: webmaster.pro@county.a||egheny.pa.us

Sent: Friday, September 22, 2017 4:40 PM

To: Para|ega|s

Cc: promai|@county.a||egheny.pa.us

Subject: Filing Confirmation CaselD : TMP556862& Submission ID: 143468

Submission Details

The following electronic filings have been received by Allegheny County Department of Court
Records, civil/Family Division. Please have this information available to check the status of
these jillngs, or if you wish to submit exhibits by mail

Case Number TMP556862 Case Desc Stevens vs Becton, Dickinson, And Company
Submission ID 143468 Status Pending

Company [D Sheriff's Amount $O

Civil/Farnily Division Amount $189 Totai Arnount $189

Docket Type Docket Number Client ID Docket Datefl`ime
Complaint 1 Stevens, Grant 9/22/2017 16:39
Files Received: Stevens,Grant-ComplaintinCivilAction.pdf'

Your filings are being processed Be advised this case is not officially filed until it is approved by Allegheny
County Department of Court Records, Civil/Famiiy Division. lf approved, you will be notified via an electronic
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Card will be debited. ln the event that this filing is not approved, your account will not be debited.

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